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                                                  U.S. Department of Justice

                                                  United States Attorney
                                                  Southern District of New York


                                                  The Silvio J. Mollo Building
                                                  One Saint Andrew’s Plaza
                                                  New York, New York 10007


                                                  February 23, 2016

By ECF

Hon. Katherine B. Forrest
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

              Re:     United States v. Ross William Ulbricht, S1 14 Cr. 68 (KBF)

Dear Judge Forrest:

        The Government respectfully requests that the Court order the Clerk to terminate the
appearance of undersigned counsel in this matter. AUSA Timothy Howard will remain counsel
of record in the case.

                                                  Respectfully,

                                                  PREET BHARARA
                                                  United States Attorney


                                             By: ______________________________
                                                 SERRIN TURNER
                                                 Assistant United States Attorney
                                                 Southern District of New York
cc:    Joshua Dratel, Esq.
